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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                         )
600 LB GORILLAS, INC.,                                   )
                                                         )
               Plaintiff,                                )   CIVIL ACTION
                                                         )
       v.                                                )   Case No. 15-CV-13991-ADB
                                                         )
FIELDBROOK FOODS CORP. and                               )   Jury Trial Demanded
MISTER COOKIE FACE, LLC,                                 )
                                                         )
               Defendants,                               )
                                                         )

                  DEFENDANTS’ MOTION FOR A DIRECTED VERDICT

       Defendants Fieldbrook Foods Corp. (“FFC”) and Mister Cookie Face, LLC (“MCF”)

hereby move, pursuant to Fed. R. Civ. P. 50(a), for a directed verdict on all counts of the Second

Amended Complaint brought by the Plaintiff 600 lb Gorillas, Inc. (“Gorillas”). Based on the

evidence presented at trial, a reasonable jury would not have a legally sufficient evidentiary basis

to find in favor of Gorillas on any of its claims.

       Gorillas has asserted nine claims: (1) breach of contract against FFC (Count I); (2) breach

of contract against MCF (Count II); (3) breach of the covenant of good faith and fair dealing

against FFC (Count III); (4) breach of the covenant of good faith and fair dealing against MCF

(Count IV); (5) negligent misrepresentation against FFC (Count V); (6) negligent

misrepresentation against MCF (Count VI); (7) breach of fiduciary duty against FFC (Count VII);

(8) violation of M.G.L. c. 93A against FFC (Count VIII); and (9) violation of M.G.L. c. 93A




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against MCF (count IX). Additionally, Gorillas includes a count for “alter ego/veil piercing”

(Count X) seeking to hold each of FFC and MCF liable for any actionable conduct of the other. 1

                                                    Argument

A.       GORILLAS’ BREACH OF CONTRACT CLAIM, AND CLAIM FOR BREACH OF
         THE IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING, AGAINST
         FFC MUST FAIL WHERE GORILLAS HAS ADMITTED IT HAD A CONTRACT
         ONLY WITH MCF.

         Chris White testified that Gorillas entered into a verbal agreement with MCF before MCF

was acquired by FFC. (Trial Tr. 7/31/18, 139:4-7.) He admitted that Gorillas never negotiated a

new contract with FFC after the acquisition. (Id., 139:8-12.) Additionally, Gorillas stipulated that

the relevant business relationship was between Gorillas and MCF. (Exhibit 673, ¶ 11: “The way

the business relationship worked between Mister Cookie Face, Inc., and 600 lb Gorillas...”; see

also ¶ 20: “MCF and Gorillas orally agreed that MCF would manufacture ice cream to

specifications…”) In these circumstances, no reasonable jury could conclude that Gorillas had a

contract with FFC. As such, the Court should enter a directed verdict in favor of FFC on Gorillas’

claim of breach of contract against FFC. Also, since there is no contractual relationship between

FFC and Gorillas, the Court should also direct a verdict for FFC on the claim for breach of the

implied covenant of good faith and fair dealing. See Levenson v. L.M.I. Realty Corp., 31 Mass.

App. Ct. 127, 131 (1991) (dismissing claim of breach of the implied covenant of good faith and

fair dealing as there is no contract of which such a covenant can be part).




1
 Piercing the veil is not a separate cause of action, but rather a “means of imposing liability on an underlying cause
of action such as a tort or breach of contract.” Kraft Power Corp. v. Merrill, 464 Mass. 145, 149 (2013), citing 1
W.M. Fletcher, Fletcher Cyclopedia of the Law of Corporations § 41.10 (rev. ed. 2006).

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B.     GORILLAS FAILED TO ESTABLISH THAT ANY CONDUCT OF THE
       DEFENDANTS CAUSED ITS DAMAGES, WHICH INSTEAD FLOWED FROM
       ITS UNRELATED LOSS OF BJ’S AS A CUSTOMER.

       Causation is an essential element of every one of Gorillas’ claims. Therefore, in order to

prevail on any of its claims, Gorillas must prove by a preponderance of the evidence that some act

or omission of FFC or MCF caused Gorillas to suffer damages (under Counts I-VII) or injury

(under Counts VIII and IX). By the time Gorillas rested its case, it had presented no evidence

sufficient for the jury to find that any breach of contract, breach of the covenant of good faith,

negligent misrepresentation, breach of fiduciary duty, or unfair or deceptive act, was the proximate

cause of any damage or injury to Gorillas.

       On the contrary, the evidence is clear that while the net income of Gorillas’ business may

have declined during the period of the parties’ dispute, this decline had nothing to do with any

conduct of FFC or MCF. In fact, Gorillas had been steadily losing money since 2011, a trend that

continued into the 2014-2016 period for which it claims damages. (Exhibit 242; Trial Tr. 8/1/18,

124:16-141:15.) Gorillas actually lost less money in 2014 and 2015 than it did in 2013, before any

alleged quality issues. (Id.) Moreover, the evidence shows that beyond this consistent decline

(beginning well before any relationship between Gorillas and the Defendants) the final blow to

Gorillas’ business was the loss of its largest customer, BJ’s Wholesale Club (“BJ’s”).

       Even well before Gorillas lost BJ’s business, Chris White had acknowledged in an e-mail

dated October 23, 2015: “If we lose this business [BJ’s] it would most likely put us [Gorillas] out

of business and cause serious issues for us financially.” (Exhibit 565.) Similarly, on February 12,

2016, after being told by BJ’s frozen foods buyer, Jim Niquette, that BJ’s would no longer be

carrying Gorillas’ product and was switching to a Nestle product, Mrs. White emailed Mr. Niquette

and stated: “I’m sure you are aware, from the many emails and vociemails that I’ve left, that this



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is devastating news for me and the welfare of our company” (emphasis added) (Exhibit 384.) Paula

White testified at trial that Gorillas was “not able to survive being dropped, being discontinued at

BJ’s.” (Trial Tr. Day 8/2/18, 119:10-12.) She testified that the loss was “financially devastating”

because “BJ’s was over 80 percent of our revenue.” (Trial Tr. 8/2/18, 119:15-16.) Chris White

testified that Gorillas’ “business was completely destroyed by losing the BJ’s business.” (Trial Tr.

7/31/18, 98:19-22.)

       Gorillas also did not present any evidence that BJ’s stopped carrying its product for reasons

having anything to do with quality. In fact, the evidence was that BJ’s moved to a similar Nestlé

product because of better pricing. (Trial Tr. 8/1/18, 89:3-92:19; 8/2/18, 202:18-203:4.) Mrs. White

said she thought Nestlé had intentionally developed a similar product, and priced it aggressively,

in order to push Gorillas out of the marketplace. (Trial Tr. 8/3/18, 4:10-16, 15:16-21.) Nestlé also

offered BJ’s “an intense demo and marketing program that Gorillas couldn’t match.” (Trial Tr.

8/3/18, 15:11-15; Exhibit 555.) Mrs. White believed Nestlé was taking a loss on the product in an

effort to “crush” its competitor, which is “common in a business like Gorillas was in.” (Trial Tr.

8/3/18, 4:18-5:2, 7:2-5.)

       Mrs. White acknowledged that BJ’s “ultimately was going to make the decision on what

products to carry that were in the best interests” of BJ’s. (Trial Tr. 8/3/18, 12:22-25.) That decision

was not based on any suggestion of poor quality, or issues with Gorillas’ product being out of

stock. (Trial Tr. 8/3/18, 9:4-8.) It was based on Nestlé’s having offered a similar product, with

better pricing, coupled with “an intense demo and marketing program that Gorillas couldn’t

match.” (Trial Tr. 8/3/18, 15:11-15.) While unfortunate for Gorillas, these circumstances had

nothing to do with any conduct of the Defendants, and Gorillas presented no evidence to the

contrary.



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       Gorillas was also not able to identify any other customer that allegedly stopped buying its

product because of issues with its quality. While Mrs. White initially testified that Costco stopped

buying after its buyer tried an “icy” sample, on cross-examination it became clear that the same

buyer actually ordered 8,000 units of Gorillas’ 12-pack boxes for Costco shortly thereafter. (Trial

Tr. 8/2/18, 132:5-8, 145:1-2; Exhibit 668.) And another Costco buyer bought 17,500 units of

Gorillas ice cream sandwiches in 2015. (Trial Tr. 8/2/18, 198:23-199:5.)

       Thus the focus is squarely on the loss of BJ’s, which represented over 80% of Gorillas’

business, and which loss simply was not caused by the Defendants. Where causation is an essential

element of every one of Gorillas’ claims, there is no basis on which a reasonable jury could find

FFC or MCF liable under any of those claims. As such, the Court should enter a directed verdict

for FFC and MCF on each claim.

C.     GORILLAS CANNOT RECOVER LOST PROFITS WHERE IT HAD NO
       PROFITS FOR THE THREE YEARS LEADING UP TO THE DEFENDANTS’
       ALLEGED CONDUCT.

       Gorillas seeks damages in the form of lost profits under two alternative assumptions:

(1) that BJ’s would have stopped buying Gorillas’ product irrespective of any quality issues, and

(2) that BJ’s would have continued buying Gorillas’ product. Alternatively, Gorillas seeks to

recover the alleged equity value of its business as of December 31, 2013, which is calculated based

on the assumption that Gorillas would have been profitable moving forward (i.e. 10% expected

revenue growth for 2014-2018).

       Even if a causal connection could be shown between FFC or MCF’s conduct and Gorillas’

lost sales, Gorillas is not entitled to recover any amount of prospective lost profits where the

evidence shows that it had no history of profits during any period relevant to this dispute. In fact,

Gorillas’ financial records show that it had no net profits (negative net income) for at least three



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full years, 2011, 2012 and 2013, before it claims to have received consumer complaints about its

product in 2014. (Exhibit 242; Trial Tr. 8/1/18, 124:16-141:15.) Any alleged “lost profits” from

2014 onward are entirely consistent with Gorillas’ prior operating history. In fact, it is not at all

clear that Gorillas’ alleged lost sales, if they had not been lost, would have translated to higher

profits. From 2012 to 2013, Gorillas’ sales went up by $247,257.64, but its net profits decreased

from negative $87,167.06 to negative $112,537.52. (Exhibit 242.) In any case, Gorillas had

negative net profits for every year from 2011 onward. It is elementary that Gorillas cannot have

lost profits if it was not earning profits.

        “[T]o show that it lost profits, [Plaintiff] must first show that it was previously earning

profits.” Metropolitan Exp. Services, Inc. v. City of Kansas City, Mo., 71 F.3d 273, 275 (8th Cir.

1996). See also Brevard County Fafr Assoc., Inc. v. Cocoa Expo, Inc., 832 So.2d 147, 153 (Fla.

App. 2002) (“a condition precedent to recovery is proof by competent substantial evidence that the

business has earned profits for a reasonable time before the occurrence of the wrong”); Crowell

Corp. v. Himont USA, Inc., 1994 WL 762663, *3 (Del.Super.Ct. Dec.8, 1994) (a party can only

recover for lost profits where “there is concrete data of past profit history”); Empire Shoe Co. v.

NICO Indus., Inc., 398 S.E.2d 440, 443 (Ga. App. 1990) (a party may recover lost profits “only if

the business has a proven ‘track record’ of profitability”); T.D.S., Inc. v. Shelby Mut. Ins. Co., 760

F.2d 1520, 1532 n. 14 (11th Cir. 1985) (trial court properly refused jury instruction on lost profits

where plaintiff showed no history of profitability for reasonable time prior to breach of contract

sued upon); Benvenuti Oil Co. v. Foss Consultants Inc., 2006 WL 328678, *14 (Conn.Sup.Ct. June

25, 2006) (“failure to show profit must have some bearing on the ability to earn future profits”);

Northwest Mining and Extraction Co. v. Safe Guard Products, 112 Wash.App. 1045, *7 (2002)

(‘“The usual method of proving lost profits is from profit history”); SK Hand Tool Corp. v. Dresse1



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Ind., Inc., 672 N.E.2d 341, 348 (Ill.App. 1996) (“a business which has not been profitable generally

will be unable to provide competent proof by which the profits can be estimated with reasonable

certainty’’).

        Absent extraordinary circumstances that would have turned Gorillas’ financial track record

around, it is reasonable to infer that it would have continued to perform in 2014 as it had in the

prior years. No evidence of any such circumstances was presented at trial. Thus, no reasonable

jury could find that Gorillas would have had positive net income in 2014-2016 but for FFC’s or

MCF’s conduct. As such, the jury has no basis to award prospective lost profits to Gorillas. To the

extent that Gorillas seeks damages in the form of lost profits (including its alleged loss of equity

value, which is based on anticipated profits) the Court should enter a directed verdict for FFC and

MCF.

D.      GORILLAS HAS NOT ESTABLISHED ANY AMOUNT OF DAMAGES WITH A
        REASONABLE DEGREE OF CERTAINTY.

        In Augat, Inc. v. Aegis, Inc., the SJC stated the “principle of law that should guide the

court” in assessing the recoverability of lost profits as follows:

        Prospective profits may be recovered in an appropriate action when the loss of them
        appears to have been the direct result of the wrong complained of and when they are
        capable of proof to a reasonable degree of certainty. They need not be susceptible of
        calculation with mathematical exactness, provided there is a sufficient foundation for a
        rational conclusion. . . . But such damages cannot be recovered when they are remote,
        speculative, hypothetical, and not within the realm of reasonable certainty. The nature of
        the business or venture upon which the anticipated profits are claimed must be such as to
        support an inference of definite profits grounded upon a reasonably sure basis of facts.
        When the elements, upon which the claim for prospective profits rests, are numerous and
        shifting contingencies whose relation to the wrong complained of is problematical, and
        such profits are not provable with assurance as a trustworthy result of the alleged cause,
        then there can be no recovery. Manifest ambiguities in ascertaining what would have been
        the course of events in the face of complicated factors, under circumstances which never
        have come to pass, and inherent difficulties in calculating the amount of prospective gains,
        prevent the recovery of damages.




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Augat, Inc. v. Aegis, Inc., 417 Mass. 484, 488 n. 4 (1994), quoting Lowrie v. Castle, 225 Mass. 37,

51 (1916) (emphasis added).

       In calculating Gorillas’ alleged damages, Gorillas’ financial expert witness, Joseph

McKneely, began by assuming that FFC’s and MCF’s conduct caused Gorillas to lose sales, then

speculated about what damages might have resulted if that were true. As discussed above, there

was no evidence that the quality of Gorillas’ product had anything to do with its lost sales. In light

of Gorillas’ lack of evidence of causation, Mr. McKneely’s conclusions about the profits that

Gorillas would have lost if the Defendants’ conduct had caused it to lose profits is “remote,

speculative, hypothetical, and not within the realm of reasonable certainty.” Augat, Inc. v. Aegis,

Inc., 417 Mass. at 488, quoting Lowrie, 225 Mass. at 51. However, even if there were evidence

linking FFC’s and MCF’s conduct to Goriallas’ lost profits, Mr. McKneely’s lost profits analysis

is impermissibly speculative in its own right.

       The fact that Mr. McKneely provides three different amounts of lost profits based on

several different scenarios—ranging from $790,000 to $3.9 million—itself highlights that there is

no knowing what amount Gorillas might have lost if FFC and MCF had caused it to lose business.

The $3.9 million number is apparently based on a valuation of Gorillas’ business before the alleged

wrongdoing, on the assumption that FFC’s and MCF’s conduct caused Gorillas to lose the entire

value of its business. This is pure speculation. First of all, the analysis assumes that Gorillas would

have continued operating and growing its business from 2014 through 2017. But the evidence was

that BJ’s would have dropped Gorillas in February 2016 in any event, and Mr. White admitted that

losing BJ’s “would most likely put us out of business.” (See Exhibits 3-4.) Additionally, the

valuation is for the entire business, including aspects that Gorillas acknowledges FFC and MCF

had nothing to do with, for instance its cookie dough product. Obviously any alleged conduct of



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the Defendants cannot have impacted that product line. A business valuation that so flagrantly

ignores reality cannot satisfy the Augat analysis.

       Moreover, after Gorillas lost BJ’s business in February 2016, Gorillas stopped selling ice

cream sandwiches and cookie dough in July 2016. Gorillas actually canceled an August 3, 2016

meeting scheduled with BJ’s frozen foods buyer that might have allowed Gorillas to regain this

business. (Exhibit 559.) Thus, the premise that any conduct of FFC and MCF, even if it caused

Gorillas to lose sales, caused Gorillas to lose the entire value of its business is speculative and

unsupported. It is at least as likely that Gorillas’ damages were caused by its own failure to

mitigate, and not any conduct of FFC or MCF. Indeed, after losing BJ’s in February of 2016,

Gorillas only attempted to sell to four new potential customers—despite identifying double that

number of “target” customers in an investor presentation. (Trial Tr. 8/1/18, 114:21-115:5, 117:5-

25; Exhibit 672(a).) Finally, Gorillas claims that it canceled the August 3, 2016 meeting with BJ’s

because by that time it did not have the financial resources to re-launch its product there. (Trial Tr.

8/3/18, 76:10-17.) However this ignores the fact that Gorillas had a guaranteed line of credit in the

amount of $400,000 which it could have drawn upon. (Exhibit 672(b).) Instead, Gorillas chose to

go into hibernation. (Trial Tr. 8/1/18, 118:10-14.)

       Mr. McKneely acknowledges this by calculating, in the alternative, the amount of business

Gorillas would have lost if it had continued operating and BJ’s had continued buying its product.

This scenario is purely conjectural and irrelevant to this case, because as discussed above, Mr.

Niquette’s communications with Gorillas establish unequivocally that the decision to drop Gorillas

had nothing to do with the quality of its product—and thus nothing to do with FFC or MCF. As

Gorillas admits, Nestlé offered BJ’s better pricing and a marketing and demo program that Gorillas

could not match. (Exhibit 554, 556; Trial Tr. 8/3/18, 15:11-15, 18:21-24).) Furthermore, Paula



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White admitted that the “cost of ingredients and doing business in general made it so that [Gorillas]

could no longer run profitably.” (Exhibit 200.)

       Finally, Mr. McKneely calculated Gorillas’ lost profits in a realistic scenario—where BJ’s

stopped carrying Gorillas’ product for reasons unrelated to quality, as the evidence shows actually

occurred. However, Mr. McKneely’s lost profits analysis in this scenario was flawed as well. Mr.

McKneely assumed an unsupported 10% annual growth rate throughout the period of the estimate

(2014 through 2017) despite the fact that Gorillas’ ice cream sales had actually declined between

2008 and 2013 on a compound annual basis. He also used Gorillas’ total company sales to estimate

lost profits, although the only product at issue in this case was the ice cream sandwich; he ignored

Gorillas’ voluntary cessation of operations in July 2016; and he failed to account for early payment

discounts that Gorillas offered to its customers. As such, even Mr. McKneely’s third scenario is

based on counterfactual assumptions and unfounded speculation.

       “When, as in the instant case, a plaintiff claims lost profits damages, the evidence must

establish the amount of lost profits ‘with sufficient certainty.’” Cahill v. TIG Premier Ins. Co., 47

F. Supp. 2d 87, 89 (D. Mass. 1999), quoting Augat, 417 Mass. at 488. Here, Gorillas is not even

sufficiently certain what outcome would have occurred if not for the conduct it seeks redress for—

would its business have continued at a less profitable level without its largest customer, or would

BJ’s have continued buying Gorillas’ product despite Mr. Niquette’s communications to the

contrary?

       Additionally, in seeking to recover its entire equity value or its entire hypothetical profits,

Gorillas fails to account for sales it lost due to other issues, such as problems with the cookie

produced by Ellison Bakery. Chris White stated in an e-mail that Gorillas had “really lost a lot of

customers between Fieldbrook selling us bad ice cream and the 1183 cookie.” (Exhibit 427.)



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Where Gorillas cannot establish what damages are attributable to alleged conduct of FFC and/or

MCF, as opposed to other causes such as the cookie, Gorillas has failed to establish damages with

the certainty that the law requires. Augat, Inc. v. Aegis, Inc., 417 Mass. 484, 488 (1994) (“Many

factors bear on the financial performance of a company. The plaintiffs had to show the portion of

Isotronics’s losses, at least in general terms, that was attributable to the defendants’ misconduct.”);

United States Football League v. National Football League, 842 F.2d 1335, 1377-78 (2d Cir.

1988) (upholding instruction “that the jury could award no damages or one dollar in damages if

they found that they could not ‘separate out the amount of losses caused by [NFL misconduct]

from the amount caused by other factors, including perfectly lawful competitive acts and including

business decisions made by the [USFL] or the [USFL's] own management.’”); MicroStrategy Inc.

v. Bus. Objects, S.A., 429 F.3d 1344, 1361 (Fed. Cir. 2005) (where record shows multiple causes

of plaintiff’s loss of business, plaintiff must demonstrate the amount of damages attributable to

[defendant] with reasonable certainty.”)

       Gorillas’ damages analysis falls far short of establishing lost profits with the requisite

certainty. This is a case in which “[m]anifest ambiguities in ascertaining what would have been

the course of events in the face of complicated factors, under circumstances which never have

come to pass, and inherent difficulties in calculating the amount of prospective gains, prevent the

recovery of damages.” Lowrie, 225 Mass. at 52. As such, the Court should enter a directed verdict

for FFC and MCF.

E.     GORILLAS CANNOT ESTABLISH A FIDUCIARY DUTY GIVEN ITS OWN
       LEVEL OF SOPHISTICATION, AND WITHOUT A FIDUCIARY DUTY THERE
       CAN   BE   NO    BREACH    THEREOF    AND   NO    NEGLIGENT
       MISREPRESENTATION BY OMISSION.

       Chris and Paula White operated Gorillas for fifteen years before the alleged quality issues

leading to this lawsuit. (Trial Tr. 7/30/18, 25:19-20.) They personally developed the frozen cookie

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dough that was Gorillas’ original product. (Id. 27:5-17.) Gorillas started selling ice cream

sandwiches in 2008, and Mr. and Mrs. White tested and approved the original ice cream mix

created by United Dairy. (Id. 30:20-22, 42:8-14.) The Whites provided the recipe for the cookie to

be used in their original ice cream sandwich, and worked with Ellison Bakery and their original

co-packer Rhino Foods on the formulation. (Id. 43:20-25.) Mr. White demonstrated an intimate

understanding of each stage of the process, from combining ingredients into the ice cream mix to

pasteurization, freezing, placement between the cookies, hardening, wrapping, packing and

shipment. (Id. 44:22-45:20, 70:8-21.) Once production of the ice cream sandwiches moved to

MCF, Mr. White was involved in detailed discussions about developing and adjusting both the

mix and cookie formulas. (Trial Tr. 7/30/18, 117:15-20, 137:3-9, 138:15-139:7, 141:6-19; 7/31/18,

7:11-14; 8/1/18, 147:24-148:10.) He worked closely with Ellison Bakery on changing the cookie

formulation to work on MCF’s automated line, and coordinated the switch to the automated line

with MCF. (Trial Tr. 7/31/18, 173:3-13; Exhibits 458, 470, 486, 535.) He also visited MCF “many

times” to view the production process. (Trial Tr. 7/30/18, 70:8-21; 140:1-8; Trial Tr. 7/31/18, 31:2-

4, 30:19-31:6, 67:7-13, 155:18-20.) He was in close contact with MCF personnel regarding

production issues and, ultimately, Gorillas’ quality concerns. (Exhibits 20, 78, 81, 110.) Gorillas

also reviewed and approved all aspects of its product’s packaging and labeling, and was

responsible for shipping and distribution. (Trial Tr. 7/30/18, 48:2-20; 8/1/18, 171:19-172:1.) It

cannot plausibly be argued that Gorillas was an unsophisticated party whose lack of knowledge

the Defendants could have readily taken advantage of in their dealings.

       As noted by Gorillas, in considering whether a fiduciary duty has arisen in a business

relationship, the trier of fact should “consider the relation of the parties, the plaintiff’s business

capacity contrasted with that of the defendant, and the ‘readiness of the plaintiff to follow the



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defendant’s guidance in complicated transactions wherein the defendant has specialized

knowledge.’” (Gorillas Letter Brief, ECF 272, citing Smith v. Dorchester Real Estate, Inc., 732

F.3d 51, 63 (1st Cir. 2013), quoting Indus. Gen. Corp. v. Sequoia Pac. Sys. Corp., 44 F.3d 40, 44

(1stCir. 1995).) The same case also holds that “trust and confidence reposed in a party possessing

a great disparity of knowledge or expertise ..., while ordinarily not enough standing alone to give

rise to fiduciary obligations, may produce such obligations if the trust and confidence is knowingly

betrayed by that party for the purpose of securing some benefit to itself.” Smith, 732 F.3d at 63,

quoting Geo. Knight & Co. v. Watson Wyatt & Co., 170 F.3d 210, 216 (1st Cir.1999). The court

there focused on the “vastly disproportionate knowledge” of the parties, noting that the plaintiff

did not even know what transaction he was entering into. Id. (“Smith did not even know that he

was purchasing two properties, let alone that he was obligating himself to repay nearly $850,000.

Indeed, Century 21 agents and their cohorts kept Smith entirely blind as to the nature of the

purported investments.”) The plaintiff was assured that the defendants would “take care of

everything,” while in fact they entered fraudulent transactions on his behalf. Id. at 63-64.

       The present case bears no resemblance to Smith, or to other cases where a breach of

fiduciary duty is found in a business transaction. See Sequoia, 44 F.3d at 44 (no fiduciary duty

despite district court’s finding that defendant “‘managed’ the entire transaction”). There was no

“vastly disproportionate knowledge.” There was no understanding that FFC or MCF would “take

care of everything.” Rather, Mr. White was deeply involved, hands-on, in MCF’s manufacturing

process and the investigation into the quality concerns Gorillas had raised.

       Moreover, there is no evidence that FFC or MCF abused whatever relationship they had

with Gorillas to secure some benefit to themselves. All that they arguably gained from Gorillas

was its continued placement of orders—for which Gorillas in any event refused to pay in full. See



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Sequoia, 44 F.3d at 45 (“The effect of the judgment below will not be to remedy unjust enrichment

or, for that matter, any other benefit accruing to Sequoia. Sequoia would simply be paying again

for the same parts it had already purchased from Moog.”); compare Smith, 732 F.3d at 64

(defendants collected commissions from fraudulent transactions in plaintiff’s name);

       If FFC had no fiduciary duty to Gorillas, it also cannot be liable for negligent

misrepresentation by virtue of any failure to disclose information to Gorillas. That is, any negligent

misrepresentation claim must be based on affirmative misrepresentations. This is because

Massachusetts “has long adhered to the ‘rule of nonliability for bare nondisclosure,’” except in the

following limited circumstances: (1) where there is a statutory duty to disclose, as for example a

duty to disclose material information in the sale of securities; (2) where there is a fiduciary

relationship; and (3) where the omission renders an otherwise accurate statement misleading. In re

Access Cardiosystems, Inc., 404 B.R. 593, 643 (Bankr. D. Mass. 2009), aff'd, 488 B.R. 1 (D. Mass.

2012), quoting Kannavos v. Annino, 356 Mass. 42, 247 N.E.2d 708, 711 (1969).

       Gorillas did not present evidence of any affirmative misrepresentation, or any otherwise

accurate statement that was rendered misleading by particular information being omitted from it.

There is plainly no statutory duty in this case. Gorillas’ evidence focused on FFC and/or MCF’s

alleged failure to provide information to Gorillas, such as certain test results and information about

the maintenance of MCF’s Lactoscope. However, without a fiduciary duty, this evidence (even if

credited) cannot support a finding of negligent misrepresentation under the law.

       Additionally, Gorillas presented no evidence that it relied on any alleged

misrepresentation or omission, which is an essential element of its negligent misrepresentation

claim. Nycal Corporation v. Peat Marwick LLP, 426 Mass. 491, 496 (1998). In fact, Mr. White

testified that by March 2015—despite MCF’s suggestions that Gorillas’ consumer complaints were



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primarily caused by issues with the cookie—he had concluded that the problem was the ice

cream, not the cookie. (Trial Tr. 7/30/18, 114:20-115:3.) And he stated in an e-mail dated

September 1, 2015 that regardless of any test results that MCF had obtained, “we have a very

serious issue with our product that needs to be addressed.” (Exhibit 218.) Indeed, by that time,

Gorillas has obtained the test results of two outside labs it had engaged, Deibel and UL, each of

which set forth numbers that were out of specification, and which Gorillas relied on then and is

relying on at trial. Thus Gorillas cannot argue that it relied on any absence of test results that the

Defendants allegedly failed to provide to it. Gorillas had done its own outside testing and had long

since drawn its own conclusions and acted on them.

       Because there was no evidence of circumstances that would support a fiduciary duty among

the parties, the Court should enter a directed verdict for FFC and MCF on Gorillas’ claim for

breach of fiduciary duty. For the same reason, and because there is no evidence whatsoever of

reasonable reliance on any alleged misrepresentation, the Court should enter a directed verdict for

FFC and MCF on Gorillas’ claims for negligent misrepresentation.

F.     GORILLAS PRESENTED NO EVIDENCE OF EXTORTIONATE OR
       FRAUDULENT CONDUCT THAT WOULD SUPPORT A VIOLATION OF
       CHAPTER 93A AS OPPOSED TO MERE BREACH OF CONTRACT OR
       NEGLIGENT MISREPRESENTATION.

       The Chapter 93A claim is for the judge to decide, though she may allow the jury to find

the facts on the claim or render an advisory verdict. Chamberlayne School v. Banker, 30 Mass.

App. Ct. 346, 354-55 (1991). Gorillas premised its claim under Chapter 93A upon the same facts

giving rise to its breach of contract and negligent misrepresentation claims. However, Gorillas

presented no evidence from which the jury could find unfair or deceptive conduct going beyond

mere breach of contract or negligent misrepresentation (even if the latter claim could be sustained

despite the lack of a fiduciary relationship).

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       The “simple fact that a party knowingly breached a contract does not raise the breach to

the level of a Chapter 93A violation ….” See Ahern v. Scholz, 85 F.3d 774, 798 (1st Cir. 1996),

citing Pepsi-Cola Metro Bottling Co. v. Checkers, Inc., 754 F.2d 10, 18 (1st Cir. 1985); Ecological

Fibers, Inc. v. Kappa Graphic Board, B.V., 345 F. Supp. 2d 13, 15 (D. Mass. 2004) (“[I]n order

for a 93A claim to succeed the law requires more than a mistake or honest dispute concerning a

contract.”). Here, even if Gorillas is able to establish that MCF made ice cream that did not meet

the agreed-upon specifications, there is no evidence that it was anything more than an honest

mistake caused by allegedly poorly calibrated testing equipment. MCF’s production records

consistently showed Gorillas’ mix to be within specification. (Exhibit 71.) There was no evidence

that MCF set out to intentionally mislead Gorillas.

       Chapter 93A “proscribes those engaged in trade or commerce from employing ‘[u]nfair or

deceptive methods of competition and unfair or deceptive acts or practices’ in business

transactions.” There are certain cases where facts giving rise to a breach of contract claim will also

give rise to a Chapter 93A claim. See Monotype Imaging, 883 F. Supp. at 323; citing Ecological

Fibers, 345 F. Supp. 2d at 15. These are cases where the facts “rise to the level of ‘commercial

extortion’ or a similar degree of culpable conduct.” See Commercial Union, 217 F.3d at 40, citing

Anthony’s Pier Four, Inc. v. HBC Assocs., 411 Mass. 451, 474-75 (1991) (holding that withholding

approval as a pretext to force party into changing price of underlying contract violated Chapter

93A). Thus absent an “extortionate quality,” a failure to perform obligations under a contract,

“even though deliberate and for reasons of self-interest, does not present an occasion for invocation

of ch. 93A remedies.” Atkinson v. Rosenthal, 33 Mass. App. Ct. 219, 226 (1992).

       In its Commercial Union decision, the First Circuit noted some examples of conduct that

may support a Chapter 93A violation in a commercial contract context:



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       [W]e upheld a finding that a defendant violated 93A by withholding payment and
       ‘stringing out the process’ with the intent to ‘force [the plaintiff] into an unfavorable
       settlement.” Arthur D. Little, [Inc. v. Dooyang Corp., 147 F. 3d 47, 55-56 (1st Cir.
       1998)]…. Similarly, the Massachusetts Appeals Court upheld a finding of 93A
       liability for extortionate conduct when a defendant raised ‘specious defenses’ to
       payment and engaged in ‘foot dragging’ and ‘a pattern or stringing [the plaintiff]
       along. Community Builders, Inc. v. Indian Motorcycle Assocs., 44 Mass. App. Ct.
       537, 692 N.E.2d 964, 978-79 (1998).

217 F.3d at 40; see also Price Chopper, Inc. v. Consolidated Beverages, LLC, 2011 WL 901817,

*9 (D. Mass. 2011) (stating that violation of Chapter 93A in context of breach of contract

“generally involves the use of the breach of contract as a lever or wedge to enhance a party’s

bargaining power or exact control over the other party,” and noting that “[u]nlike the cases where

a chapter 93A violation has been found, defendant did not induce plaintiff to perform its part of

the contract by making false promises that it would do something in return.”).

       Gorillas presented no evidence of the type of extortionate conduct that has been found to

elevate a breach of contract to a violation of Chapter 93A. Compare Monotype Imaging, 883 F.

Supp. 2d at 322-23 (allegations that plaintiffs acted in deliberate disregard of their contractual

obligations and initiated suit in effort to coerce defendant into entering new licensing agreement

insufficient to state a claim under Chapter 93A); Petersen v. US Airways, 2013 WL 7196329, *5

(Mass. Super. Nov. 19. 2013). In fact, MCF continued to produce ice cream sandwiches at

Gorillas’ request, including on October 12, 2015, despite Gorillas being $243,000 behind on

payments to MCF. (Trial Tr. 7/31/18, 117:4-18.) MCF also invited Mr. White to come to its facility

whenever he wanted, with whomever he wanted, to test the product. (Trial Tr. 8/1/18, 150:17-24.)

Mr. White declined that invitation. (Id.)

       Similarly, a negligent misrepresentation standing alone does not violate Chapter 93A. See

Baker v. Goldman Sachs & Co., 2013 WL 4780962, *2 (D. Mass. 2013) (Saris, C.J.) (“The Bakers

argue that under Massachusetts caselaw, ordinary negligent misrepresentations violate ch. 93A.

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The Bakers are wrong.…the Court has consistently held that ‘a negligent act or acts, alone, do not

violate c. 93A’”; citing Klairmont v. Gainsboro, Meyer v. Wagner, Walsh v. Chestnut Hill,

O'Connor v. Merrimack). There “must in addition be evidence that the negligence was or resulted

in an unfair or deceptive act or practice.” Squeri v. McCarrick, 32 Mass. App. Ct. 203, 207 (1992);

see also Poly v. Moylan, 423 Mass. 141, 151 (1996), cert. denied, 519 U.S. 1114, 117 S.Ct. 956,

136 L.Ed.2d 843 (1997). Some decisions have required the conduct to be “extreme or egregious”

to rise to the level of a Chapter 93A violation. Marram v. Kobrick Offshore Fund, Ltd., 442 Mass.

43, 62 (2004) (“Because a misrepresentation may be so extreme or egregious as to constitute a

violation of G.L. c. 93A, § 11 … the G.L. c. 93A claim for preinvestment statements must be

reinstated.”); Lily Transp. Corp. v. Royal Institutional Services, Inc., 64 Mass. App. Ct. 179, 208

(2005) (Laurence, J. dissenting) (“A negligent act can amount to a c. 93A violation if shown to

have been separately deceptive … although to constitute a c. 93A violation under § 11, it would

have to be ‘extreme or egregious,’” citing Marram v. Kobrick).

       As with the breach of contract claim, Gorillas did not present evidence of egregious

conduct which would elevate its negligent misrepresentation claim (even if it were viable) to a

violation of Chapter 93A. In fact, it was clear from the evidence presented that any alleged failure

to disclose information to Gorillas was immaterial. On September 1, 2015, Chris White wrote an

e-mail to Jack Lockwood, Ken Johnson and Mahesh Khemraj, saying: “Regardless of the test

results that you have attained or are waiting on, we have a very serious issue with our product that

needs to be addressed.” (Exhibit 218.) And Mr. White had already concluded in May 2015 that his

quality concerns were caused by the ice cream that MCF was producing. (Trial Tr. 7/30/18, 114:20-

115:3.) Thus, any alleged failure of MCF to communicate test results to Gorillas cannot form the

basis of a claim that Gorillas was deceived. Any failure of MCF to communicate alleged problems



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with its Lactoscope to Gorillas is similarly immaterial, as Gorillas performed extensive outside

testing on the mix manufactured by MCF, and thus had no reason to rely on the Lactoscope if it

found the outside results more creditable.

       Gorillas did not present evidence of any extortionate conduct elevating its claim beyond

mere breach of contract, or any fraudulent conduct elevating it beyond negligent

misrepresentation. All of its other claims flow from the contract and the alleged

misrepresentations. As such, there is no evidentiary basis to find a violation of Chapter 93A, and

the Court should enter judgment for FFC and MCF on this claim.

G.     GORILLAS HAS NOT ESTABLISHED FACTS SUPPORTING PIERCING THE
       CORPORATE VEIL, AS THERE IS NO PERVASIVE CONTROL OF MCF BY
       FFC, NO FRAUDULENT OR INJURIOUS CONSEQUENCE THEREOF, AND NO
       CONFUSED INTERMINGLING OF CORPORATE ACTIVITY.

       Under certain limited circumstances, a corporation may become liable for the acts of its

subsidiary in what is known as piercing the corporate veil. In Massachusetts, this doctrine may be

applied: “(a) when there is active and direct participation by the representatives of one corporation,

apparently exercising some form of pervasive control, in the activities of another and there is some

fraudulent or injurious consequence of the intercorporate relationship, or (b) when there is a

confused intermingling of activity of two or more corporations engaged in a common enterprise

with substantial disregard of the separate nature of the corporate entities, or serious ambiguity

about the manner and capacity in which the various corporations and their respective

representatives are acting.” My Bread Baking Co. v. Cumberland Farms, Inc., 353 Mass. 614, 618,

233 N.E.2d 748 (1968). The courts have also developed a twelve-part test for piercing the corporate

veil, as further described below. “One way to view the relationship between the two categorical

requirements and the twelve-part test is that in order to permit a piercing of the corporate veil, the

court must review the evidence to determine whether either of the two categorical requirements

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has been met, and in doing so, the court should consider the factors set forth in the twelve-part

test.” 48 Mass. Prac. Collection Law § 12:7 (4th ed.), citing Hiller Cranberry Products, Inc. v.

Koplovsky Foods, Inc., 2 F. Supp. 2d 157 (D. Mass. 1998), aff’d in part, rev’d in part on other

grounds, 165 F.3d 1 (1st Cir. 1999).

       The twelve-part test involve an examination of the following factors: (1) common

ownership; (2) pervasive control; (3) confused intermingling of business assets; (4) thin

capitalization; (5) nonobservance of corporate formalities; (6) absence of corporate records; (7) no

payment of dividends; (8) insolvency at the time of the litigated transaction; (9) siphoning away

of corporate funds by dominant shareholders; (10) nonfunctioning of officers and directors; (11)

use of the corporation for transactions of dominant shareholders; and (12) use of the corporation

in promoting fraud. Zimmerman v. Puccio, 613 F.3d 60 (1st Cir. 2010).

       “In order to pierce the corporate veil, a court must conclude after evaluating these factors

that the parent corporation directed and controlled the subsidiary and used it for an improper

purpose.” TechTarget, Inc. v. Spark Design, LLC, 746 F. Supp. 2d 353, 356 (D. Mass. 2010).

Piercing the corporate veil requires Gorillas to meet a “very high” standard, as “disregarding

separate corporate entities is the exception, not the rule.” Dale v. H.B. Smith Co., Inc., 910 F.Supp.

14, 18 (D.Mass. 1995). Put another way, “the corporate veil may be pierced only with reluctance

and in extreme circumstances when compelled by reasons of equity.” Lothrop v. N. Am. Air

Charter, Inc., 95 F. Supp. 3d 90, 100 (D. Mass. 2015). Thus Gorillas must prove, under the above

twelve factor analysis, that piercing the corporate veil is required in order to prevent “gross

inequity.” Id., 103 (D. Mass. 2015). Gorillas did not present evidence at trial to support such a

finding.




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       Gorillas presented almost no evidence bearing on the above factors. Gorillas established

that MCF is wholly owned by FFC. (Trial Tr. 8/8/18, 6:12-17.) But there was no evidence of

intermingling of assets, thin capitalization, nonobservance of corporate formalities, absence of

corporate records, or the other elements of the veil-piercing test. On the contrary, there was

affirmative evidence that MCF leases its own building, owns all of its equipment, employs its own

personnel, maintains separate financial records, makes its own corporate and tax filings, and is

solvent. (Trial Tr. 8/8/18, 29:20-32:24.)

       Regarding the element of pervasive control, there was some evidence that FFC and MCF

shared certain operational functions. For example, FFC performed certain accounting, financial

and administrative functions for MCF. (Trial Tr. 8/8/18, 33:7-36:9.) Some of the communications

related to resolving Gorillas’ quality complaints were undertaken by FFC personnel despite the

contract having been between Gorillas and MCF. (See, e.g., Exhibit 23, 83.) And FFC sent invoices

to Gorillas for services provided by MCF, though they indicated that payment thereunder should

be made to MCF. (Exhibit 179.) However these limited actions undertaken by FFC on behalf of

MCF are not sufficient to establish FFC’s “pervasive control” over MCF. Pervasive control means

intrusive, “overwhelming control over [the other company’s] financial and operational structure”

and “precluding [the other company’s] executives from significant daily decision-making.” United

States v. Kayser-Roth Corp., 272 F.3d 89, 93 (1st Cir. 2001); UST Corp. v. General Road Trucking

Corp., 783 A.2d 931, 940 (R.I. 2001) (parent should be held liable when it dominates the finances,

policies, and practices of the subsidiary); see also William J. Rands, Domination of a Subsidiary

by a Parent, 32 Ind. L. Rev. 421 (1999) (pervasive control “usually means intrusive, hands-on,

day-to-day control with the parent often leaving no discretion whatsoever to the subsidiary.”)




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       FFC’s handling of certain communications with Gorillas, and sending invoices on MCF’s

behalf, does not rise to the level of pervasive control. See Velazquez v. P.D.I. Enterprises, Inc.,

141 F. Supp. 2d 189, 194 (D.P.R. 1999) (no veil piercing, despite subsidiary selling merchandise

owned by parent and collecting payment therefor). Additionally, control alone is not a sufficient

basis to support veil piercing. Rather, pervasive control must be accompanied by fraudulent or

injurious consequence in order to provide a basis for veil-piercing. Hiller, 2 F. Supp. 157. Nothing

about FFC’s communications on MCF’s behalf raises the specter of any fraudulent or injurious

consequence that Gorillas would not have suffered from the same conduct being undertaken by

MCF directly. See Lothrop, 95 F. Supp. 3d at 101 (fraudulent or injurious consequences must

“stem from the relationship between the corporations”).

       Gorillas did not present evidence that would permit a reasonable jury to conclude either

(a) that FFC exercised pervasive control of MCF in a way that caused fraudulent or injurious

consequences to Gorillas, or (b) that there was a confused intermingling of corporate activity

between FFC and MCF. My Bread Baking, 353 Mass. at 618. On the contrary, the evidence

showed that beyond certain limited shared functions, the companies are legally and operationally

separate. Therefore the Court should direct a verdict in favor of FFC and MCF to the extent that

Gorillas seeks to hold either liable for the actions of the other.

                                             Conclusion

       WHEREFORE, the Defendants respectfully request that this Court grant judgment in their

favor, and award the Defendants such other relief as this Court deems proper.




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                                      Respectfully submitted,

                                      FIELDBROOK FOODS CORP. and
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Dated: August 13, 2018




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                                CERTIFICATE OF SERVICE

        I hereby certify that I caused a true copy of the above document to be served on the
Plaintiff by hand-delivery to its counsel of record on August 13, 2018, and that the document
will be filed through the ECF system and will be sent electronically to the registered participants
as identified on the Notice of Electronic Filing on August 13, 2018.

                                                     /s/ David Glod
                                                     David Glod




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